Case 5:13-cr-04056-LTS-KEM   Document 79   Filed 01/31/14   Page 1 of 6
Case 5:13-cr-04056-LTS-KEM   Document 79   Filed 01/31/14   Page 2 of 6
Case 5:13-cr-04056-LTS-KEM   Document 79   Filed 01/31/14   Page 3 of 6
Case 5:13-cr-04056-LTS-KEM   Document 79   Filed 01/31/14   Page 4 of 6
Case 5:13-cr-04056-LTS-KEM   Document 79   Filed 01/31/14   Page 5 of 6
Case 5:13-cr-04056-LTS-KEM   Document 79   Filed 01/31/14   Page 6 of 6
